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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         *
                                                  *
         v.                                       *     CRIMINAL NO. 23-cr-257 (TSC)
                                                  *
 DONALD J. TRUMP,                                 *
                                                  *
                 Defendant.                       *
                                                  *

     GOVERNMENT’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION
          FOR EXTENSION OF TIME TO FILE PRETRIAL MOTIONS

       At the status hearing on August 28, 2023, the Court set a trial date that carefully balanced

the defendant’s need to prepare appropriately for trial and the public’s right to a prompt and

efficient resolution of this case. The Court then issued a Pretrial Order that organized pretrial

proceedings in a fair and efficient way through the trial date. See ECF No. 39. Relying on

arguments that the Court already has considered and rejected in setting the current schedule, the

defendant now seeks to extend, by sixty days, the deadline for the filing of pretrial motions. See

ECF No. 63. The defendant’s motion fails to provide a basis for any extension, much less an

extension of two months. And despite the defendant’s claim to the contrary, granting the motion

would substantially delay the pretrial schedule and, by design, disrupt the trial date. The Court

should deny the motion.

I.     Background

       On August 3, 2023, the defendant was arraigned on the indictment, and the Court ordered

briefing on the parties’ respective proposals for a trial schedule, to be addressed at a status hearing

on August 28. The Government proposed that trial begin in January 2024, ECF No. 23, while the

defendant proposed April 2026, ECF No. 30, and at the August 28 hearing, the Court stated that

neither party’s proposal was acceptable. ECF No. 38 at 4. Instead, after careful consideration of
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the parties’ submissions, as well as oral argument, and in view of statutory and constitutional

speedy trial requirements, the Court ordered trial to begin on March 4, 2024. See id. at 52–55 (“I

find that a trial beginning on March 4, 2024, would give the defense adequate time to prepare for

trial and ensure the public’s interest in seeing this case resolved in a timely manner.”). The Court

issued a written Pretrial Order the same day requiring the filing of “[a]ll other pre-trial motions,

excluding motions in limine” on or before October 9, oppositions by October 23, and replies by

November 6. ECF No. 39 ¶ 2. Consistent with orderly pretrial practice, the Order set other interim

deadlines necessary to maintaining the Court’s selected trial date, including that motions in limine

and motions to suppress be filed on or before December 27 and fully briefed by January 22, 2024;

that the parties notice expert witnesses by December 11; that the parties exchange exhibit lists by

December 18, with objections and replies to be filed by January 3 and January 9, respectively; and

that the parties’ proposed voir dire, jury instructions, and verdict forms be filed by January 15. Id.

¶¶ 4–5, 7–8.

       Before issuing the Pretrial Order, at the August 28 hearing, the Court addressed, among

other matters, the defendant’s principal arguments for delaying the trial date: the existence of

“novel issues of law” and the volume of discovery. ECF No. 38 at 17–33. Turning specifically to

the anticipated motions schedule, the Court asked the defense for a “sense of what if any

dispositive motions or motions requiring significant briefing” the defendant intended to file. Id.

at 51. During the hearing, in addition to predicting that “we’re going to be back many, many times

arguing some of these complex motions,” the defense detailed several motions that it was “already

starting,” including an “extensive motion that deals with executive immunity,” “a selective

prosecution motion,” litigation on “First Amendment issues” and “Rule 17 subpoenas,” and




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various “motions to dismiss based on the flawed legal theory.” Id. at 34–36, 51–52. 1 Defense

counsel also intimated that the defense may move to change venue. Id. at 57–60. Regarding the

selective prosecution motion, defense counsel conveyed that the motion “may involve a request

for an evidentiary hearing” and “the executive immunity argument will also come with a motion

to stay as well, which we may be entitled to under existing law.” 2 Id. at 52. As to the latter,

counsel represented, “[W]e’re going to raise [that] with the Court likely this week or early next

week”—that is, no later than September 6, 2023. Id. at 33–34.

       Now, almost one month later, the defendant has not filed the executive immunity motion

he described. Instead, he seeks to “extend the current pretrial motions deadline of October 9, 2023,

by sixty (60) days to December 8, 2023.” ECF No. 63 at 1. As support for this lengthy delay, the

defendant cites the same bases for a delayed trial date that the Court rejected at the August 28

hearing—“novel and complex legal issues” and “need[ing] the time necessary to review this

discovery and assess its potential import regarding the motions we intend to file.” Id. at 1, 3. The

Government opposes the motion.

II.    Argument

       Federal Rule of Criminal Procedure 12(c)(1) provides that a “court may, at the arraignment

or as soon afterward as practicable, set a deadline for the parties to make pretrial motions.” Orders

establishing deadlines for pretrial practice are common in this District; the Court’s website even


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          Weeks before the status hearing, the defendant and defense counsel already had signaled
their intent to file certain motions, including ones based on the First Amendment, immunity, and
change of venue.           See, e.g., CBS Face the Nation (Aug. 6, 2023), available at
https://www.cbsnews.com/video/86-face-the-nation/; Truth Social, @realDonaldTrump,
https://truthsocial.com/@realDonaldTrump/110842897375935251 (Aug. 6, 2023).
       2
         To the extent the defendant intends to file motions to stay in connection with his pretrial
motions, it is all the more important that the Court require him to adhere to the existing schedule
to prevent the disruption of the trial date.


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carries a template for ready reference. 3 Under Rule 12(c)(2), “[a]t any time before trial, the court

may extend or reset the deadline for pretrial motions.” Rule 12(c)(2) “anticipates that a district

court has broad discretion to extend, reset, or decline to extend or reset, the deadline for pretrial

motions.” Fed. R. Crim. P. 12 advisory committee note (2014 amendment). Consistent with the

Rule, the Supreme Court has recognized in the Sixth Amendment context that “broad discretion

must be granted trial courts on matters of continuances.” Morris v. Slappy, 461 U.S. 1, 11 (1983).

          Without citation to legal authority, the defendant relies upon a different legal standard,

asserting that “requests for extensions should be granted liberally, absent a specific showing of

prejudice.” ECF No. 63 at 4. This language appears to be borrowed from the standard for motions

for leave to amend pleadings in civil cases under Federal Rule of Civil Procedure 15(a)(2). It is

nowhere to be found in the federal or local rules of criminal procedure, and it is not applicable in

this criminal case. The defendant later cites a civil case for the proposition that “‘[c]ourts must, at

times, strike a balance’ between granting an extension and ‘enforcing technical rules and time

limits,’” ECF No. 63 at 5 (quoting Parker v. Yellen, No. CV 22-2344, 2023 WL 3647177, at *1

(D.D.C. May 25, 2023)). But the defendant fails to mention that the relief in that civil case was “a

short extension of time (a little over a week) to effect service of process” where the movant would

otherwise “not be able to refile his complaint”—facts that in no way move the needle toward the

defendant’s requested relief here. Parker, 2023 WL 3647177, at *1, *3. The Court should exercise

its discretion by declining the defendant’s request to significantly delay the pretrial motions

deadline.




          3
              https://www.dcd.uscourts.gov/sites/dcd/files/Criminal%20Pretrial%20Order%20Templa
te.pdf.


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       Setting aside the faulty legal standard the defendant proposes, as a factual matter, the

defendant’s two arguments in support of a sixty-day extension—“novel” legal issues and time

needed to review discovery, ECF No. 63 at 1, 3—are not new. The Court heard and considered

them in connection with the Court’s decision on the trial date and Pretrial Order. See ECF No. 38.

The defendant has presented no additional basis for upending the Court’s considered judgment in

allocating the schedule leading up to trial.

       First, the defendant’s argument regarding “novel” legal issues does not merit revision of

the motions deadline. In its motion, the defense asserts that the “brief” sixty-day extension is

“require[d] . . . to finalize several of its expected motions, including, for example, motions to

dismiss relating to executive immunity, failure to state a claim, and improper conduct by the

Special Counsel during the grand jury process and in charging decisions, motions for 17(c)

subpoenas, potential motions to compel discovery, etc.” ECF No. 63 at 3. The identified motions,

however, are largely the same ones raised in court on August 28 and in the public weeks before

that. Compare id. at 3 with ECF No. 38 at 33–36, 51–52. The defendant’s only addition to the

list of motions previewed on August 28 is “potential motions to compel discovery, etc.” ECF No.

63 at 3. But the defendant does not identify whether such discovery motions will be forthcoming

or what they might seek to compel. In any event, this mere possibility does not warrant a two-

month extension of the deadline for pretrial motions. If, in fact, the defendant later formulates a

motion to compel discovery, he may at that time move under Rule 12(c) for relief from the Pretrial

Order, the Government can respond, and the Court can rule on a developed record. Given his

citation to a case addressing Rule 12(c)(3)’s provision that a district court may consider an

untimely motion “if the party shows good cause,” the defendant must be aware of this




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straightforward point of practice. See ECF No. 63 at 5 (citing United States v. Milton, 621 F. Supp.

3d 421, 426–27 (S.D.N.Y. 2022)).

       The current October 9 motions deadline afforded the defendant more than two months from

the indictment to craft his legal arguments. Just as the defendant failed to justify delaying trial to

a date more than two-and-a-half years after indictment, the defendant has not articulated any facts

here that would support extending the deadline by sixty days to “finalize” his motions. Indeed,

the defendant asks for a sixty-day extension even to file the executive immunity motion he told

the Court would be raised within a week of the August 28 hearing. See ECF No. 38 at 33–34. Far

from justifying a sixty-day extension of time, these circumstances indicate that the current motion

is intended for one purpose only: delay.

       Second, the defendant cannot square his purported need to continue to review discovery

with the substantive motions he has said he intends to file. That is because the defendant has

indicated that his pretrial motions will focus on “an enormity of unique legal issues,” id. at 34, not

ones based on factual issues. Motions raising such legal issues fall within the scope of Rule

12(b)(3)(A)–(B) as those alleging “a defect in instituting the prosecution” or “a defect in the

indictment or information”—matters collateral to the evidence of the defendant’s guilt. After all,

“a pretrial motion to dismiss an indictment ‘allows a district court to review the sufficiency of the

government’s pleadings, but it is not a permissible vehicle for addressing the sufficiency of the

government’s evidence.’” United States v. Mosquera-Murillo, 153 F. Supp. 3d 130, 154 (D.D.C.

2015) (quoting Moore’s Federal Practice, § 612.02). Put simply, a defendant’s ongoing review of

discovery is no reason to halt the filing of the pretrial motions he has forecast.

       Aside from the faulty bases for the present motion, the defendant is plainly wrong when he

insists that granting a “brief” sixty-day extension “would not affect any other deadlines, and the




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case would continue to trial on schedule.” ECF No. 63 at 1, 4. On the contrary, the defendant’s

proposal would vitiate the organizational principles underpinning the Court’s selection of interim

dates. If the defendant’s requested extension of time to December 8 were granted, pretrial motions

would not even be ripe for the Court to consider until January 5, 2024—well after the deadlines

for the parties to submit exhibits and in limine motions, 4 and just ten days before jury instructions

are due. A quick skim of the Pretrial Order reveals the cascade of conflicts that the defendant’s

proposed modification would create as this case moves forward. Any pretrial motions rulings will

impact which exhibits the parties expect to use in their cases-in-chief; which witnesses may be

called; which motions in limine or to suppress are filed; and the parties’ proposed jury instructions.

The defendant should not be permitted to delay the trial until his preferred 2026 trial date, already

rejected by the Court, through unwarranted extensions of interim deadlines.

       To be sure, the defendant “anticipates filing certain motions in advance” of his proposed

December 8 deadline and offers the view “that his pretrial motions will be more efficiently and

appropriately considered sequentially and on a rolling basis—as all motions have thus far been

considered—rather than in a single burst before an arbitrary motion deadline.” Id. at 3. But the

Court’s dates were not “arbitrary.” The Court’s prescribed dates for the filing of significant

motions, responses, and replies enable all parties to manage their resources and time “efficiently

and appropriately” and are central to the due administration of justice. Granting the defendant’s

request to consider his pretrial motions “sequentially and on a rolling basis”—depending,

evidently, on when the defendant chooses to file them—would result in an indeterminate,




       4
         In his original proposed trial schedule, the defendant appears to have appreciated the need
to resolve pretrial motions before addressing more factual in limine motions. See ECF No. 30 at
2–3 (suggesting pretrial motions deadline 17 months before in limine motions deadline).


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unworkable schedule controlled by the defendant, rather than by the Court. In short, the defendant

shows no basis for the Court to reconsider its prior ruling.

III.   Conclusion

       The Court’s Pretrial Order compels the parties to try this case on a schedule consistent with

normal order, in accordance with the due administration of justice. The defendant’s request for a

sixty-day extension of time to file pretrial motions is unwarranted, and inconsistent with orderly

pretrial preparation for the trial beginning on March 4, 2024. The Court should deny the motion.


                                                      Respectfully submitted,

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